        Case 2:12-cv-00859-LMA-MBN Document 1347 Filed 10/02/20 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

    LASHAWN JONES, ET AL.                             CIVIL ACTION NO. 12-859

    VERSUS                                            SECTION I, DIVISION 5

    MARLIN GUSMAN, ET AL.                             JUDGE LANCE M. AFRICK
                                                      MAGISTRATE JUDGE NORTH


     CITY OF NEW ORLEANS’ NOTICE OF ANTICIPATED ORDER OF WITNESSES

           NOW INTO COURT, through undersigned counsel, comes Third-Party Defendant, the

City of New Orleans (the “City”), in the matter captioned above, and pursuant to the Court’s Order

of October 2, 2020, 1 respectfully submits the following anticipated order of witnesses to be called

at the hearing on the City’s Motion for Relief at Rec. Doc. 1281:

                                 Anticipated Order of Witnesses

      1. Gilbert Montaño, Chief Administrative Officer, City of New Orleans

      2. Jonathan Wisbey, OPSO Budget Liaison, City of New Orleans

      3. Ramsey Green, Deputy Chief Administrative Officer, City of New Orleans

      4. LaNitrah Hasan, Project Delivery Unit, City of New Orleans

      5. Susan Guidry, Former City Councilmember, City of New Orleans

      6. Tenisha Stevens, Criminal Justice Commission, City of New Orleans

      7. William Snowden, Director, Vera Institute of Justice

      8. William Kissel, Wellpath, LLC

      9. Ronald Shansky

      10. James Austin, JFA Institute


1
    Rec. Doc. 1346.


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 Case 2:12-cv-00859-LMA-MBN Document 1347 Filed 10/02/20 Page 2 of 3




11. Allen Patrick, Patrick Consultants

12. Jeffrey Rouse, Tulane

13. Carin Kottraba, Wellpath, LLC

The City reserves the right to make adjustments to this list as may be needed.

                                         Respectfully submitted,


                                         __/s/ Sunni J. LeBeouf________________
                                         SUNNI J. LeBEOUF (LSBA #28633)
                                         CITY ATTORNEY
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                                         NEW ORLEANS, LOUISIANA 70112
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                                         FACSIMILE: (504) 658-9868

                                          - and -
                                         __/s/ Harry Rosenberg__________________
                                         HARRY ROSENBERG (LSBA #11465)
                                         Email: harry.rosenberg@phelps.com
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                                         Counsel for the City of New Orleans




                                            2
     Case 2:12-cv-00859-LMA-MBN Document 1347 Filed 10/02/20 Page 3 of 3




                                 CERTIFICATE OF SERVICE


       I do hereby certify that on this 2nd day of October, 2020, a copy of the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent

to all counsel of record by operation of the court’s electronic filing system.



                                                  __________/s/ Sunni J. LeBeouf__________
                                                            SUNNI J. LEBEOUF




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